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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

DISH NETWORK, LLC, et al., )
Plaintiffs, )
)
v. ) Civil Action No. 1:15cv706
)
SHAVA IPTV NETWORK LLC, et al., )
Defendants. )
_(LRM

On February 2, 2018, United States Magistrate Judge Ivan D. Davis entered a Report and
Recommendation (“Report”), recommending that plaintiff Dish Network, LLC’s motion for
contempt be granted. Specifically, Judge Davis recommends that certain third-party service
providers and dealers be enjoined from engaging in infringing activities and that two domain
names used to conduct infringing activities be transferred to plaintiff

Upon consideration of the Report, to which no objections have been filed, and the record,
and having found no clear error,1

The Court ADOPTS, as its own, the findings of fact and recommendations of the United
States Magistrate Judge, as set forth in the Report (Doc. 136).

Accordingly,

It is hereby ORDERED that plaintist motion for contempt (Doc. 130) is GRANTED.

 

' See Diamond v. Colom'al Life & Acc. Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (in the absence of any
objections to a magistrate’s report, the court “need not conduct a de novo review, but instead must ‘only
satisfy itself that there is no clear error on the face of the record in order to accept the
recommendation.”’).

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It is further ORDERED that the third-party service providers and the affiliated IP
addresses identified in paragraph 7 of the declaration of Pascal Metral (Doc. 130-2) are
ENJOINED from providing services to the defendants that support their infringing activity.

It is further ORDERED that the registries and registrars for the domain names
shavatv.com and asiaasia.nl, which include VeriSign, SIDN, and United-Domains, shall transfer
the domain names to plaintiff DISH Network, LLC.

It is further ORDERED that the third-party dealers identified in Exhibit 3 of the
declaration of Timothy Frank (Doc. 130-1) are ENJOINED from distributing, selling and
promoting Shava TV set-up boxes and services.

The Clerk is directed to provide a copy of this Order to all counsel of record and to
defendants at their last known addresses

Plaintiff may serve the third-party service providers and dealers and the registries and
registrars identified by this Order with copies of this Order at its own convenience

Alexandria, VA
February 22, 2018

    
 

T. S. Ellis, I[I
United States Dis ’ct Judge

